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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )
                                               ) CRIM NO. 21-MJ-622
CODY MATTICE,                                  )
                                               )
               Defendant.                      )


                   DEFENDANT CODY MATTICE’S
           SUPPLEMENTAL REQUEST FOR PRETRIAL RELEASE

         COMES NOW Defendant Cody Mattice, by and through his attorney, John L.

Machado, and respectfully supplements his Request for Pretrial Release, filed earlier

today.

                                     Background

         In a minute order issued yesterday, the court ordered that any opposition be

filed by noon today, October 20, 2021. Such a pleading was filed in response prior

to the deadline, Defendant Cody Mattice’s Supplemental Request for Pretrial

Release. (Dkt. No. 11). After the noon deadline, undersigned counsel received some

additional documentation from the Federal Public Defender’s Office in Rochester,

New York. Accordingly, counsel supplements the record by providing letters of

support as attachments to this pleading and as supplements to its Request for Pretrial


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Release.1

         In addition to the arguments made in the Request for Pretrial Release, Mr.

Mattice respectfully requests that the following letters be considered when making

the determination of whether to allow for the release order to be ordered after the

stay on the order be lifted. Included in this pleading are seventeen (17)

attachments, all of which are letters of support on behalf of Mr. Mattice:

         a) Kyle Burgio, Cody Mattice’s cousin, attached hereto as Exhibit A.

         b) Ashley Choate, Cody Mattice’s fiancée, attached hereto as Exhibit B.

         c) Michael Choate, the brother of Mr. Mattice’s fiancée, Ashley Choate,

              attached hereto as Exhibit C.

         d) Leslie Cologgi, Mr. Mattice’s cousin-in-law, attached hereto as Exhibit

              D.

         e) Amy Dalcin, a family friend, attached hereto as Exhibit E.

         f) April Evert, Mr. Mattice’s aunt, attached hereto as Exhibit F.

         g) Autumn Evert, Cody Mattice’s cousin, attached hereto as Exhibit G.

         h) Michaela Evert, Mr. Mattice’s sister, attached hereto as Exhibit H.

         i) Rebecca Evert-Keller, Cody Mattice’s aunt, attached hereto as Exhibit I.



1 An Unopposed Motion for Leave to Late File was filed in conjunction with this pleading. These letters of support
are provided with the hopes that the court will grant defendant’s relief that this pleading be permitted to be late filed.

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j) Kylie Evert-Swarts, Cody Mattice’s daughter, attached hereto as Exhibit

   J.

k) Jacqualine Gillette, a friend of Mr. Mattice and his family, attached

   hereto as Exhibit K.

l) Ayla Huff, a former coworker of Mr. Mattice, attached hereto as Exhibit

   L.

m) Casey Mattice, Cody Mattice’s brother, attached hereto as Exhibit M.

n) Cindy Shackelford-David, a family friend, attached hereto as Exhibit N.

o) Allyson Swarts, an aunt of Kylie Evert-Swarts (Mr. Mattice’s daughter),

   attached hereto as Exhibit O.

p) Andrea Verstreate Evert, Cody Mattice’s mother, attached hereto as

   Exhibit P.

q) Shaelyn Whitten, Cody Mattice’s sister, attached hereto as Exhibit Q.




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WHEREFORE, Mr. Mattice respectfully requests his release.


                                       Respectfully submitted,

                                       CODY MATTICE
                                       By Counsel


                                          /s/ John L. Machado
                                       John L. Machado, Esq.
                                       Bar No. 449961
                                       Attorney for Cody Mattice
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                               Certificate of Service

   I hereby certify that a true copy of the foregoing was electronically filed with
     the Clerk of the Court using the CM/ECF system this 20th day of October,
  2021, which will send a notification of such filing (NEF) to the following to all
                                   counsel of record.


         /s/John L. Machado
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